Case 23-34815 Document 846-11 Filed in TXSB on 12/04/24 Page 1 of 6




                        EXHIBIT 9
        Case 23-34815
       Case
        Case  23-34815 Document
              23-34815  Document 846-11
                        Document  43-3 Filed
                                  43-3  Filed in inTXSB
                                         Filedin   TXSB onon12/15/23
                                                    TXSBon  12/15/23  Page
                                                                       Page11 2of
                                                             12/04/24 Page     ofof5
                                                                                   56



                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

 In re:


 GALLERIA              2425 OWNER      LLC,


                 Debtor.


 DECLARATION OF ALI CHOUDHRI IN SUPPORT OF CASH COLLATERAL MOTION
    AND MOTION TO DETERMINE ADEQUATE ASSURANCE UTILITY PAYMENT


          THIS UNSWORN             DECLARATION         IS MADE UNDER PENALTY OF PERJURY

            1.         My name is Ali Choudhri. I am over the age of eighteen and am otherwise capable

of making this declaration. I have personal knowledge of the facts stated herein and they are true

and correct.

          2.           I am an Officer and Manager of Galleria 2425      Owner LLC.     On December     5,

2023 (the “Petition Date’’), I authorized a voluntary chapter 11 petition to be filed on behalf of

Galleria 2425 Owner LLC (the “Debtor’).

          3.           Iam making this declaration in support of the Debtor’s Motion for Interim and

Final Orders Authorizing It to Use Cash Collateral [Dkt. No. 33] (the “Cash Collateral Motion’)

and Debtor’s Emergency Motion to Determine Adequate Assurance Utility Payments [Dkt. No.

34] (the “Adequate Utility Deposits’’).

          4.           The Debtor’s primary asset is a Class A office building located at 2425 West Loop

South, Houston, Texas 77027(the “Property”’).

          5.           The Property is fully covered by commercial property and liability insurance.

          1.           As of the Petition Date, the Debtor was allegedly indebted to National Bank of

Kuwait, S.A.K.P., New York Branch (“NBK’’) pursuant to a loan made to the Debtor by NBK (the

“Loan’’).

DECLARATION OF ALI CHOUDHRI IN SUPPORT OF CASH COLLATERAL MOTION                               PAGE 1 OF 4
       Case 23-34815
      Case
       Case  23-34815 Document
             23-34815  Document 846-11
                       Document  43-3 Filed
                                 43-3  Filed in inTXSB
                                        Filedin   TXSB onon12/15/23
                                                   TXSBon  12/15/23  Page
                                                            12/04/24 Page 2 3of
                                                                      Page2  ofof5
                                                                                 56


           6.           As of the Petition Date, the Debtor was also allegedly indebted to 2425 WL, LLC (“2425

WL”), Caz Creek Lending (“Caz Creek”) and Harris County, Texas (Harris County including the City of

Houston,         the    independent   school     district,     and   various   other   entities   included   within   Harris

County)(“Harris          County”)(NBK,    2425     WL,       Caz Creek and Harris County,         collectively at times, the

“Secured Creditors”).

           7.           The Debtor’s only source of operating funds is generated by the operation of the

Property, specifically, rental and other income from tenants at the Property collected by or for the

benefit of the Debtor.

           8.           The Secured Creditors may or do assert liens or encumbrances on the Debtor’s

assets, including the rents received from tenants of the Property, which constitute cash collateral

pursuant to Section 363(a) of the Bankruptcy Code.

           9.           The Debtor requires the use of cash collateral to continue the operation of the

Property and will suffer irreparable and immediate harm if it is not granted the relief requested

herein. An immediate and critical need exists for the Debtor to obtain funds in order to continue

operating the Property, and without such funds, the Debtor will not be able to pay its direct

operating expenses, maintain the Property, or obtain goods and services needed to carry on its

business during this sensitive period in a manner that will avoid irreparable harm to the Debtor’s

estate. The Debtor’s ability to use the Secured Creditors Cash Collateral is vital to the confidence

of the Debtor’s tenants, vendors, and suppliers of goods and services to the Property and to the

preservation and maintenance of the going concern value of the Debtor’s estate.

           10.          A budget reflecting the Debtor’s projected monthly normal and necessary costs is

attached hereto as Exhibit A (the “Budget’”’).                 Absent the authority to use the amounts set forth in

the Budget,            the Debtor will be unable             to operate   and maintain      the Property     and therefore

successfully reorganize.

           11.          As adequate protection, the Debtor proposes to provide the following adequate


DECLARATION OF ALI CHOUDHRI IN SUPPORT OF CASH COLLATERAL MOTION                                                 PAGE 2 OF 4
        Case 23-34815
       Case
        Case  23-34815 Document
              23-34815  Document 846-11
                        Document  43-3 Filed
                                  43-3  Filed in inTXSB
                                         Filedin   TXSB onon12/15/23
                                                    TXSBon  12/15/23  Page
                                                             12/04/24 Page 3 4of
                                                                       Page3  ofof5
                                                                                  56


protection to secured creditors to the extent of any diminution in the value of their respective

collateral:

               a.   superpriority claims, pursuant to sections 361(2), 363(c)(2), 364(d)(1), 503(b)(1),

                    507(a)(2) and 507(b) of the Bankruptcy Code with such superpriority claims to be

                    senior to all other postpetition superpriority claims, subject to a carve-out for

                    professional fees and fees owed to the United States Trustee as reflected in the

                    budget; and

               b.   replacement liens on all property now owned or hereafter acquired by the Debtor,

                    with such liens to be subordinate only to the liens of any applicable taxing authority,

                    and subject to a carve-out for professional fees and fees owed to the United States

                    Trustee in accordance with the budget.

         12.        Any   Secured   Creditor’s   interest   in cash   collateral   will be   protected   by the

adequate protection set forth above, as the Debtor will continue to operate its business, manage and

maintain the Property and its tenancy, and continue its efforts to lease vacant space, thereby

preserving and improving the value of the Property through its use of Cash Collateral.

         13.        The Debtor also proposes the deposits of utility deposits as set forth on Exhibit B

attached hereto.

         14.        I have reviewed Exhibits A and B and believe that these budgets and amounts

represent my best estimate of the budget and the adequate protection amounts for the utilities.

         I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

AND CORRECT TO THE BEST OF MY KNOWLEDGE,                              INFORMATION, AND BELIEF.

         EXECUTED         on December 15, 2023.




                                                            Ali Choudhri

THIS UNSWORN                DECLARATION IS MADE UNDER PENALTY OF PERJURY

DECLARATION OF ALI CHOUDHRI IN SUPPORT OF CASH COLLATERAL MOTION                                     PAGE 3 OF 4
         Case 23-34815
        Case
         Case  23-34815 Document
               23-34815  Document 846-11
                         Document  43-3 Filed
                                   43-3  Filed in inTXSB
                                          Filedin   TXSB onon12/15/23
                                                     TXSBon  12/15/23  Page
                                                              12/04/24 Page 4 5of
                                                                        Page4  ofof5
                                                                                   56




                                                 Exhibit A
                                       CASH                COLLATERAL           BUDGET



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    Service Contract
      Sma Office Autorragon                            |         $850.00
      ‘Cadfigan of Houston                    $40.00
    ‘Fire Safety                                       |
    | ADT                                    $508.18
    Logix Fiber Network                      $323.42
    | Kinga
        117 Emergey
    Commuricators
    1” Daatawarten                                     |       $1,490.81
    ‘Repairs
        & Maintenance
      TK Elevator Maintenance           $2,542.25
      Fergunce Faciities                  $507.22                $615.47
    | _ Maintenance Crew                $3,201.91              $4531.71
      Supplies (Various Stores)          9500.00                 $650.00,
    ‘Security                                                               |
    |_Nationwhdie Securty               $3,511.83)             $3511.63,
    Chaaning & Maintenance                                                  ]
        Janitorial 7th Floor                                   $2225.00,
    | Janitoriad   cther Booms                                 2.576.00
    | UOiities
    | Clero etectric                   $20.5008.87
    | Chy of Houston       water        $6.12847

    | CAA Insurance
               (Prop ins)                              |
    | Capital Premkem (GL)              $1,285.57)
    Telephone & internet                               |
    | ATT intemet                                                $309)
    | Phone                                                      sx8.64
    Otver    Expense                                   |

    |” Adelie
         Water Treatment                                         $475.00,
      Veuste Managenent                                |         72.08
      Wise                               $500.00                 $500.09)
    “Propeny Manager                    271484)                $3,198.19)
    Aast Property Manager               $1,687.50)             $2,437.47)
    Admin Awet                          $1,408.25)             $2,031.23,
    Accounting AR AP                    S281250                3408248
    Accounting Data Entry                 Hm                     S61254



    Total Opersting Expenses           oer Ty                  Prey




DECLARATION OF ALI CHOUDHRI IN SUPPORT OF CASH COLLATERAL MOTION                         PAGE 2 OF 4
 Case 23-34815
Case
 Case  23-34815 Document
       23-34815  Document 846-11
                 Document  43-3 Filed
                           43-3  Filed in inTXSB
                                  Filedin   TXSB onon12/15/23
                                             TXSBon  12/15/23  Page
                                                      12/04/24 Page 5 6of
                                                                Page5  ofof5
                                                                           56




                                       Exhibit B
                                    AVERAGE UTILITIES




   AVERAGE          MONTHLY           UTILITIES
   Properties: 2425 West Loop - 2425 West Loop South Houston, TX 77027
   Based on recent months
   Payee Name                                             Amount Payable
   2425 West Loop - 2425 West Loop South Houston, TX 77027
   Cirro Energy                                                  25,000.00
   City of Houston Water                                          8,200.00
   Datawatch Systems                                              1,490.81
   Logix Fiber Networks                                             323.42
   ADT Commercial (equipment lease, fire monitoring, e               85.00
   ATT Intemet                                                      300.00
   Kings 111 (billed quarterly about $1090 per quarter)             350.00
                                                                 35,749.23
